                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
                      v.                             )       No. 09-4003-04-CR-C-NKL
                                                     )
DEMARCO LARON BURNETT,                               )
                                                     )
                              Defendant.             )

                           REPORT AND RECOMMENDATION

       Before this Court is defendant Demarco Laron Burnett’s Motion to Suppress Evidence on
the Basis of an Unlawful Search and Seizure under the Fourth Amendment to the United States
Constitution. The Government has responded in opposition to the motion. A hearing was held
on the motion on June 8, 2009. Subsequent to the hearing, the parties were given an additional
seven days to supplement the record. On June 15, 2009, the Government filed Supplemental
Suggestions in Opposition to defendant Burnett’s motion.
       The credible evidence presented at the hearing and in the parties’ filings establish that on
May 4, 2008, at approximately 3:00 p.m., Detective Geoff Jones, of the Columbia Police
Department, while driving an unmarked car, observed defendant Burnett driving a blue truck.
Based on his knowledge of Burnett’s extensive history of having his driver’s license revoked,
Jones believed Burnett to be driving in violation of his revoked license. Jones contacted the
Columbia Police Department to see if a uniformed officer was available to arrest Burnett.
Officer Brotemarkle of the Columbia Police Department was contacted. Brotemarkle requested a
records check on Burnett at 3:05 p.m. This inquiry was made by Officer Sergeant of the
Columbia Police Department at the request of Brotemarkle. The records check disclosed that
revocation of Burnett was effective on May 1, 2007, and that his revocation remained active.
Another check was run at 3:07 p.m., which also confirmed that defendant Burnett’s revocation
remained active on that date. Thus, probable cause existed for his arrest for driving while
revoked.



       Case 2:09-cr-04003-SRB          Document 245        Filed 06/30/09      Page 1 of 6
        Officer Jones continued to survey Burnett who drove the truck to 705 Spencer Avenue in
Columbia, Missouri. Detective Jones observed Burnett leave the truck and enter the residence.
Subsequently, Jones observed Burnett walking north on Spencer Avenue to Eagle Liquors.
Based on the description given by Detective Jones, Officer Brotemarkle located Burnett at Eagle
Liquors. Officer Brotemarkle entered Eagle Liquors and asked Burnett to confirm his identity,
which he did. Brotemarkle then arrested Burnett for driving while revoked, and ordered him to
place his hands on top of his head and interlock his fingers. Incident to the arrest, Officer
Brotemarkle searched Burnett and located approximately $4,250.00 in cash, and a baggie
containing what appeared to be “crack” cocaine. Brotemarkle placed these items on the counter
next to Burnett and began to handcuff him. As he was being handcuffed, Burnett bent over and
used his mouth to pick up the baggie containing what appeared to “crack” cocaine in an apparent
attempt to swallow it. Officer Brotemarkle forced Burnett to the floor and attempted to prevent
him from swallowing the baggie of “crack” cocaine. Officer Sergeant, who was also in the
business at the time, came to assist Brotemarkle. In an attempt to stop Burnett from swallowing
the “crack” cocaine and resisting, Officer Sergeant stunned him with a taser, but Burnett
successfully swallowed the baggie of “crack” cocaine and continued to struggle and resist
officers. Burnett would not lay on his stomach and kept trying to reach into the back side of his
pants around his buttocks area. The officers became concerned as to whether Burnett may have a
weapon or possible additional contraband on his person. Officer Brotemarkle then observed an
unusual bulge in the rear of Burnett’s pants. Brotemarkle believed the bulge was additional
controlled substances, noting that the crack of the buttocks is a common location for hiding
drugs. Brotemarkle held Burnett’s hand away from his back and directed Officer Sergeant to pull
off Burnett’s big baggy, oversized jeans, which slid off easily. With Burnett in his boxer shorts,
Brotemarkle felt the bulge and then retrieved the baggie from the rear of Burnett’s boxer shorts.
The baggie appeared to contain several individual packages of “crack” cocaine. After the
officers had retrieved this baggie from Burnett’s boxer shorts, Burnett settled down and stopped
resisting arrest.




                                                  2


       Case 2:09-cr-04003-SRB           Document 245        Filed 06/30/09      Page 2 of 6
       During transport to the police department, Burnett made spontaneous statements to the
transporting officer, apologizing for his resistance and indicating he was only resisting to keep
officers from retrieving the “crack” cocaine.
                                             Discussion
       Defendant Burnett argues that Detective Geoff Jones and Officer Brotemarkle did not
have probable cause to arrest him, and therefore, the search of his person violated his
constitutional rights. It is well settled that a warrantless search of an arrested person is valid
when conducted incident to a lawful, custodial arrest. New York v. Belton, 453 U.S. 454 (1981);
United States v. Robinson, 414 U.S. 218, 235 (1973). A custodial arrest is valid if supported by
probable cause. Probable cause exists if the totality of circumstances known to all officers
involved at the time of the arrest were sufficient to warrant a prudent person’s belief that the
suspect had committed or was committing an offense. United States v. Mendoza, 421 F.3d 663,
667 (8th Cir. 2005). Probable cause simply requires “a reasonable ground for belief of guilt.”
Pennsylvania v. Dunlap, __ U.S. __, 129 S. Ct. 448 (2008). A reasonable belief is “a probability
and not a prima facie showing of criminal activity.” Id. “A police officer may draw inference
based on his own experience in deciding whether probable cause exists.” Id.
       Based on Detective Jones’ personal observation that Burnett was driving, and
confirmation through the Columbia Police Department MULES computer system that Burnett
did not have a valid license, probable cause existed for his arrest. See United States v. Watson,
423 U.S. 411, 418 (1976) (law enforcement officers may lawfully arrest persons without arrest
warrants for any offense committed in the presence of an officer). Further, the court notes that
Burnett testified at the suppression hearing that he was, in fact, in the blue truck as identified by
Detective Jones, and that his license was revoked at the time.
       The probable cause developed by Detective Jones and Officer Brotemarkle justified
Officer Brotemarkle’s arrest of Burnett. The collective knowledge of all law enforcement
officers involved in an investigation may be used to establish probable cause for an arrest;
probable cause need not be based solely on the information within the knowledge of the officer
on the scene. United States v. Morales, 238 F.3d 952, 954 (8th Cir. 2001). See also Chortek v.
City of Milwaukee, 356 F.3d 740, 745 (7th Cir. 2004) (sufficient probable cause for arrest where


                                                   3


       Case 2:09-cr-04003-SRB            Document 245         Filed 06/30/09      Page 3 of 6
officer who observed the violation identifies the suspect to a uniformed officer who makes the
arrest). Because officers had probable cause to arrest Burnett, and because Burnett was arrested
in a public location, no warrant was required, and Burnett’s arrest without a warrant was lawful.
Further, because the officers had probable cause to arrest Burnett, his argument that Officer
Brotemarkle’s stop was pretextual has no merit. It is well settled that, “so long as police have
probable cause to believe that a traffic violation has occurred, the stop is valid even if the police
would have ignored the traffic violation but for their suspicion that greater crimes are afoot.”
United States v. Chatman, 119 F.3d 1335, 1340 (8th Cir. 1997).
       When there is probable cause to arrest someone, a search of his person incident to arrest
is permissible under the Fourth Amendment. Virginia v. Moore, __ U.S. __, 128 S. Ct. 1598,
1605, 1607 (2008). The search incident to a lawful arrest exception to the warrant requirement
derives from interests of officer safety and evidence preservation that are typically implicated in
arrest situations. Arizona v. Grant, __ U.S. __, 129 S. Ct. 1710, 1713 (2009). A search incident
to arrest includes the arrestee’s person and the area within his immediate control; that is the area
from which the arrestee might gain possession of a weapon or destructible evidence. Id.
       In the instant case, the search of Burnett’s person, including his boxer shorts, was incident
to his lawful arrest. The interests justifying the search of his person were present. Virginia v.
Moore, ___ U.S. at ___, 128 S. Ct. at 1607 (interests justify a search of a defendant’s person are
present whenever the officer makes an arrest). A search incident to arrest is only unconstitutional
if it is “extreme or patently abusive.” United States v. Robinson, 414 U.S. 218, 236 (1973).
       In the instant case, the officers’ search of Burnett’s person was not extreme or patently
abusive. The officers were concerned that the obvious and unusual lump in the rear of Burnett’s
pants could be a weapon or additional drugs. Search incident to arrest is lawful because of the
inherent risks associated with an arrest such as destruction of evidence and safety concerns. The
obvious and unusual lump in Burnett’s pants needed to be dealt with because it could have been
a weapon or drugs. The officers were not required to wait until they could get Burnett
transported to the police station before they investigated the unusual lump. Burnett had already
managed to swallow a baggie of what was believed to be “crack” cocaine that was located on his
person, despite his being placed in handcuffs. Further, as shown by the Eagle Liquors


                                                  4


       Case 2:09-cr-04003-SRB           Document 245         Filed 06/30/09      Page 4 of 6
surveillance video, Burnett was combative and was forcefully resisting the officers as they tried
to handcuff him, and appeared to be trying to conceal from the officers’ view the lump in the rear
of his boxer shorts. Officer Brotemarkle testified that even after being handcuffed, it is possible
for thin persons, like Burnett, to get access to the object in the rear of his boxer shorts if it had
not been removed. The officers’ concern that destructible evidence may be lost, and safety
concerns were reasonable.
        Although Burnett’s large, baggy pants were removed from his person while in the store
where he was taken into custody, there was nothing extraordinary or harmful about this search,
and any invasion of his privacy was objectively reasonable. The search was not a strip search as
alleged by Burnett. His pants were extremely baggy and removed very easily; he was wearing
boxer shorts underneath his jeans which were already exposed under his baggy pants, and at no
point was Burnett nude. Cf: Campbell v. Miller 499 F.3d 711 (7th Cir. 2007) (search incident to
arrest that involved nudity and visual inspection of anal area in open backyard exposed to the
neighbors was an unreasonable strip search).
                                              Conclusion
        Burnett’s arrest was based on probable cause, and was in a public place, thus, no warrant
was required and his arrest was lawful and did not violate his constitutional rights. The search
and seizure of evidence subsequent to his lawful arrest also did not violate his constitutional
rights. Therefore, there is no fruit-of-a-poisonous-tree argument to be made. This court finds no
basis for suppression of evidence and subsequent spontaneous statements made by Burnett.
        IT IS, THEREFORE, RECOMMENDED that defendant Demarco Laron Burnett’s
motion to suppress evidence be denied. [213]
        Under 28 U.S.C. § 636(b)(l), the parties may make specific written exceptions to this
recommendation within ten (10) days. If additional time is needed, a motion for an extension of
time must be filed within ten days. The motion should state the reasons for the request. See
Nash v. Black, 781 F.2d 665, 667 (8th Cir. 1986) (citing Thomas v. Arn, 474 U.S. 140 (1985));
Messimer v. Lockhart, 702 F.2d 729 (8th Cir. 1983). Failure to make specific written exceptions
to this report and recommendation may result in a waiver of the right to appeal.




                                                   5


       Case 2:09-cr-04003-SRB            Document 245         Filed 06/30/09       Page 5 of 6
Dated this 30th day of June, 2009, at Jefferson City, Missouri.



                                      /s/   William A. Knox
                                      WILLIAM A. KNOX
                                      United States Magistrate Judge




                                            6


Case 2:09-cr-04003-SRB         Document 245         Filed 06/30/09     Page 6 of 6
